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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                                WESTERN DIVISION


 ENVIRONMENT AMERICA, D/B/A
 ENVIRONMENT OHIO, AND LAKE ERIE
 WATERKEEPER,
                                                  Civil No. 3:24-cv-00515

                     Plaintiffs,
 v.                                               Judge Jack Zouhary


 CAMPBELL SOUP SUPPLY COMPANY
 L.L.C.,

                     Defendant.



 UNITED STATES OF AMERICA,


                     Plaintiff,                   Civil No. 3:24-cv-00523

 v.
                                                  Judge Jack Zouhary

 CAMPBELL SOUP SUPPLY COMPANY,
 L.L.C.,

                     Defendant.


                                   JOINT STATUS REPORT

          Pursuant to the Court’s Order directing the Parties to submit a status report by

September 13, ECF No. 17, the Parties hereby submit this Joint Status Report to apprise the

Court of recent developments and propose a continued stay of proceedings.
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           The Parties report that they completed a site-visit on August 26-27, 2024, which

included technical discussions, and held a settlement discussion on September 11, 2024. The

Parties still need to hold additional necessary technical discussions, the first of which is

scheduled for September 18,2024, and still need to engage meaningfully regarding a penalty

settlement figure the United States proposed on July 2, 2024, in which the citizen group

Plaintiffs joined.

           The Parties remain motivated to resolve the claims in the Complaints filed in this

matter without litigation and believe they would benefit from an additional four weeks to pursue

a negotiated resolution.

           The Parties therefore respectfully request that the Court leave the stay of proceedings

in place until October 11, 2024, upon which date the Parties shall submit a further status report.


           Respectfully submitted this 13th day of September, 2024,



 FOR PLAINTIFFS                                       FOR DEFENDANT

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